  Case 4:22-cv-00213 Document 21 Filed on 05/06/22 in TXSD Page 1 of 1




                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

Kathleen Bowersox                        §   CIVIL ACTION NO.
      Plaintiff,                         §   4:22−cv−00213
                                         §
                                         §
   vs.                                   §   JUDGE CHARLES ESKRIDGE
                                         §
                                         §
Stallion Oilfield Services LTD, et al.   §
       Defendant.                        §


                             NOTICE OF RESETTING
              Take notice that the Initial Conference set for 05/10/2022,
         has been RESET as follows:

                       Monday, May 9,2022, at 01:30 PM
                    Before the Honorable Charles Eskridge
                          United States District Judge
                   United States District Court, Courtroom 8B
                                 515 Rusk Street
                             Houston, Texas 77002
